of 2. Pp |

 

Fase 3:147.cv-00072-NKM-JCH Document3/78 Filed 11/13/18 Page

 

 

HO : ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS FOR COURT USE ONLY

(Rev. 04/18)
TRANSCRIPT ORDER DOEVaTE:

Please Read Instructions:
1. NAME 2. PHONE NUMBER 3. DATE
Robert Cahill (Counsel for Plaintiffs) (703) 456-8145 11/13/2018
4, DELIVERY ADDRESS OR EMAIL 5. CITY 6. STATE 7. ZIP CODE
Cooley LLP, 11951 Freedom Drive, 14th FL Reston VA 20190

 

 

 

8. CASE NUMBER
3:17-cv-00072

 

9. JUDGE
Joel C. Hoppe

DATES OF PROCEEDINGS

 

10. FROM 11/9/2018

| 11.TO 11/9/2018

 

12. CASE NAME
Sines v. Kessler

LOCATION OF PROCEEDINGS

 

 

13. cilry Charlottesville

| 14. STATE VA

 

15. ORDER FOR

[J APPEAL

[_] NON-APPEAL

[J crIMINAL

[x] crviL

[J cRIMINAL JUSTICE ACT
[_] In FORMA PAUPERIS

[_] BANKRUPTCY

[_] orHER

 

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PORTIONS DATE(S) PORTION(S) DATE(S)
VOIR DIRE | | TESTIMONY (Specify Witness)
OPENING STATEMENT (Plaintiff)
OPENING STATEMENT (Defendant)
CLOSING ARGUMENT (Plaintiff) [ ] PRE-TRIAL PROCEEDING (Spey)
CLOSING ARGUMENT (Defendant)
OPINION OF COURT
JURY INSTRUCTIONS OTHER (Specify)
SENTENCING Motion Hearing 11/9/2018
BAIL HEARING
17. ORDER
ORIGINAL
CATEGORY | (includes Certified Copy to | FIRST Copy | APPITIONAL NO. OF PAGES ESTIMATE COSTS
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CERTIFICATION (18. & 19.)
By signing below, I certify that I will pay all charges ESTIMATE TOTAL
(deposit plus additional). 0.00
18. SIGNATURE PROCESSED BY
/s/ Robert T. Cahill (Counsel for Plaintiffs)
19. DATE PHONE NUMBER
11/13/2018
TRANSCRIPT TO BE PREPARED BY COURT ADDRESS
DATE BY
| ORDER RECEIVED
DEPOSIT PAID DEPOSIT PAID
TRANSCRIPT ORDERED TOTAL CHARGES 0.00
TRANSCRIPT RECEIVED LESS DEPOSIT 0.00
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT TOTAL REFUNDED
PARTY RECEIVED TRANSCRIPT TOTAL DUE 0.00
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Ao ESE 3:17-cv-00072-NKM-JCH Document 378 Filed 11/13/18 Page 2 of2 Pageid#: 3654

(Rev. 04/18; WDVA Rev. 04/18)
INSTRUCTIONS
GENERAL

Use. Use this form to order the transcription of proceedings. COMPLETE A SEPARATE ORDER FORM FOR EACH CASE
NUMBER AND COURT REPORTER FOR WHICH TRANSCRIPTS ARE ORDERED.

CJA Counsel. CJA Counsel must complete an Auth-24 in eVoucher.
Appeal. If case is on appeal, visit http://www.ca4.uscourts.gov for transcript instructions.
Submitting to the Court.
Attorney — E-file order to the appropriate case in CM/ECF.
Private Party — Send order to: Clerk’s Office, US District Court, 210 Franklin Road SW, Roanoke, VA 24011

Deposit Fee. The court reporter will notify you of the amount of the required deposit fee which may be mailed or delivered to the
address provided to you by the court reporter. Upon receipt of the deposit, the court reporter will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts ordered by the federal
government from the date of receipt of the signed order form.

Completion of Order. The court reporter will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance due which must be
paid prior to receiving the completed order.

For additional assistance: Email the court reporter coordinator at CRC@vawd.uscourts.gov or call (434) 847-5722.

SPECIFIC
Items 1-19. | These items should always be completed.
Item 8. Only one case number may be listed per order.
Item 15. Place an “X” in each box that applies.
Item 16. Place an “X” in the box for each portion requested. List specific date(s) of the proceedings for which transcript is

requested. Be sure that the description is clearly written to facilitate processing. Orders may be placed for as few
pages of transcript as are needed.

Item 17. Categories. There are seven (7) categories of transcripts which may be ordered. Order is considered received upon
receipt of the deposit. These are:
Ordinary. A transcript to be delivered within thirty (30) calendar days after receipt of an order
/4-Day. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.
Expedited. A transcript to be delivered within seven (7) calendar days after receipt of an order.
3-Day. A transcript to be delivered within three (3) days after receipt of an order.

Daily. A transcript to be delivered on the calendar day following receipt of the order (regardless of whether
that calendar day is a weekend or holiday), prior to the normal opening hour of the clerk’s office.

Hourly. A transcript of proceedings to be delivered within two (2) hours from receipt of the order.

Realtime. A draft unedited transcript produced by a certified realtime reporter as a byproduct of realtime to be
delivered electronically during proceedings or immediately following receipt of the order.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For example, if an order for
expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day delivery rate,
and if not completed and delivered within 14 calendar days, payment would be at the ordinary delivery rate.

Ordering. Place an “X” in each box that applies. Indicate the number of additional copies ordered.

Original. Original typing of the transcript. An original must be ordered and prepared prior to the availability
of copies. The original fee is charged only once. The fee for the original includes the copy for the records of
the court.

First Copy. First copy of the transcript after the original has been prepared. All parties ordering copies must
pay this rate for the first copy ordered.

Additional Copies. All other copies of the transcript ordered by the same party.
Item 18. Sign in this space to certify that you will pay all charges. (This includes the deposit plus any additional charges.)
Item 19, Enter the date of signing.

Shaded Area. Reserved for the court’s use.
